Case: 5:15-cr-00066-JMH-EBA Doc #: 98 Filed: 07/06/17 Page: 1 of 1 - Page ID#: 1118
                                                                      Eastern DJstrict of Kentucky
                                                                            FILED
                         UNITED STATES DISTRICT COURT                      JUL - 6 2017
                         EASTERN DISTRICT OF KENTUCKY                         AT LEXINGTON
                               CENTRAL DIVISION                             ROBERT R. CARR
                                                                        CLERK U.S. DISTRICT COURT
                                       LEXINGTON

   CRIMINAL ACTIONS NO. 5:14-CR-85-JMH, 5:15-CR-66-JMH-1

   UNITED STATES OF AMERICA

   v.                                     ORDER

   WINONA JEAN COX

                                        * * * * *
         Upon motion of the Director of the Bureau of Prisons, the Court ORDERS that

   Cox's term of imprisonment is modified to time served because of "extraordinary and

   compelling reasons." See 18 U.S.C. § 3582(c)(l)(A)(i).




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